Case 2:22-cv-04355-JFW-JEM Document 121-14 Filed 03/06/23 Page 1 of 68 Page ID
                                  #:7083




                             Exhibit 2




                                                                            Exhibit 2
                                                                              Pg. 10
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                                       #:7084



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       Telephone: (213) 443-5300
12     Fax: (213) 443-5400
13     Attorneys for Defendants
       Ryder Ripps and Jeremy Cahen
14
15                            UNITED STATES DISTRICT COURT

16                          CENTRAL DISTRICT OF CALIFORNIA

17                                     WESTERN DIVISION

18                                                        Case No. 2:22-cv-04355-JFW-JEM
        Yuga Labs, Inc.,
19
                                                   RYDER RIPPS AND JEREMY
                           Plaintiff and
20                         Counterclaim Defendant, CAHEN’S NOTICE OF
                                                   SUBPOENAS TO THOMAS
21          v.                                     LEHMAN
22      Ryder Ripps, Jeremy Cahen,                        Judge: Hon. John F. Water
23                         Defendants and
24                         Counterclaim Plaintiffs.

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        Case No. 2:22-cv-04355-JFW-JEM                               NOTICE OF SUBPOENAS TO
                                                                            THOMAS LEHMAN Exhibit 2
                                                                                            Pg. 11
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                                       #:7085



1
             TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2
             PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure
3
       26, 30, 34, and 45, Defendants Mr. Ripps and Mr. Cahen, by and through their
4
       attorneys of record, will serve Thomas Lehman the attached subpoenas for
5
       deposition testimony and the production of documents and things. The production
6
       and deposition shall occur at such date, time, and location as is specified in the
7
       accompanying subpoenas, or at such date, time and location as is agreed to by the
8
       parties or ordered by the Court. A copy of the subpoenas are attached to this notice
9
       (Exhibit 1 and Exhibit 2). The deposition will continue day to day until completed
10
       and may be recorded by any means that the Federal Rules of Civil Procedure permit,
11
       including audio, video, and stenographic means, as well as means for the instant
12
       display of testimony on a computer. Testimony derived pursuant to this Notice shall
13
       be used for any and all appropriate purposes permitted by the Federal Rules of Civil
14
       Procedure.
15
16
17     Dated: February 7, 2023                 By: /s/ Louis W. Tompros
18                                                    Louis W. Tompros (pro hac vice)
                                                      louis.tompros@wilmerhale.com
19                                                    Monica Grewal (pro hac vice)
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28
                                                  2
        Case No. 2:22-cv-04355-JFW-JEM                            NOTICE OF SUBPOENAS TO
                                                                         THOMAS LEHMAN Exhibit 2
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                                       #:7086



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                                                Ryder Ripps and Jeremy Cahen
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        Case No. 2:22-cv-04355-JFW-JEM                      NOTICE OF SUBPOENAS TO
                                                                   THOMAS LEHMAN Exhibit 2
                                                                                   Pg. 13
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                                       #:7087



1
                                  CERTIFICATE OF SERVICE
2
             I hereby certify that a true and correct copy of the foregoing document has
3
       been served via electronic mail on February 7, 2023, on counsel of record for Yuga
4
       Labs, Inc. I certify under penalty of perjury under the laws of the United States that
5
       the foregoing is true and correct.
6
7
8      Dated: February 7, 2023                  By: /s/ Louis W. Tompros
9                                                    Louis W. Tompros
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        Case No. 2:22-cv-04355-JFW-JEM                           NOTICE OF SUBPOENAS TO
                                                                        THOMAS LEHMAN Exhibit 2
                                                                                        Pg. 14
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                 Exhibit 1



                                                                            Exhibit 2
                                                                              Pg. 15
      Case 2:22-cv-04355-JFW-JEM Document 121-14 Filed 03/06/23 Page 7 of 68 Page ID
                                        #:7089
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                     Central DistrictDistrict
                                                      __________      of California
                                                                              of __________

                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No.
                                                                               )
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:

                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



 Place:                                                                                 Date and Time:



        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                             Exhibit 2
                                                                                                                                               Pg. 16
      Case 2:22-cv-04355-JFW-JEM Document 121-14 Filed 03/06/23 Page 8 of 68 Page ID
                                        #:7090
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

                I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

                I returned the subpoena unexecuted because:
                                                                                                                                                   .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                      .

My fees are $                                      for travel and $                             for services, for a total of $                     .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




                                                                                                                                              Exhibit 2
                                                                                                                                                Pg. 17
       Case 2:22-cv-04355-JFW-JEM Document 121-14 Filed 03/06/23 Page 9 of 68 Page ID
                                         #:7091
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                                           Exhibit 2
                                                                                                                                                             Pg. 18
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      Attachment A



                                                                            Exhibit 2
                                                                              Pg. 19
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                                        #:7093



1
                                            ATTACHMENT A
2
       I.   DEFINITIONS
3
             The words and phrases used in these Requests shall have the meanings
4
       ascribed to them under the Federal Rules of Civil Procedure and the Local Rules of
5
       the United States District Court for the Central District of California. In addition, the
6
       following terms shall have the meanings set forth below whenever used in any
7
       Request:
8
             1.     “Yuga,” and/or “Plaintiff” mean Yuga Labs, Inc. and all predecessors,
9
       successors, predecessors-in-interest, successors-in-interest, subsidiary entities,
10
       divisions, parents, and/or affiliates, past or present, any companies that have a
11
       controlling interest in Plaintiff, and any current or former employee, founder, officer,
12
       director, principal, agent, consultant, representative, or attorney thereof, or anyone
13
       acting on their behalf.
14
             2.     “Thomas Lehman,” “Mr. Lehman,” “You,” or “Your” includes all
15
       predecessors, successors, predecessors-in-interest, successors-in-interest, and any
16
       current or former employee, agent, consultant, representative, or attorney thereof, or
17
       anyone acting on their behalf.
18
             3.     The term “NFT” means nonfungible token and any digital artwork or
19
       other asset identified by such nonfungible token.
20
             4.     “Document(s)” has the broadest possible meaning permitted by Federal
21
       Rules of Civil Procedure Rules 26 and 34 and the relevant case law, and the broadest
22
       meaning consistent with the terms “writings” or “recordings” as set forth in Rule 1001
23
       of the Federal Rules of Evidence, and specifically and without limitation include
24
       tangible things and electronically stored information, including e-mail and
25
       information stored on computer disk or other electronic, magnetic, or optical data
26
27
28                                                 1
        Case No. 2:22-cv-04355-JFW-JEM                                  ATTACHMENT A TO
                                                                      DOCUMENT SUBPOENA
                                                                                      Exhibit 2
                                                                                        Pg. 20
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                                        #:7094



1
       storage medium.       “Document(s)” also includes all drafts or non-final versions,
2
       alterations, modifications, and amendments to any of the foregoing.
3
                5.    “Relating” means regarding, referring to, concerning, mentioning,
4
       reflecting, pertaining to, analyzing, evidencing, stating, involving, identifying,
5
       describing, discussing, documenting, commenting on, dealing with, embodying,
6
       responding to, supporting, contradicting, comprising, containing, or constituting (in
7
       whole or in part), as the context makes appropriate.
8
                6.    “Person(s)” means natural persons as well as business entities and
9
       associations of all sorts, including partnerships, companies, proprietorships, joint
10
       ventures, corporations, government agencies, and unincorporated associations.
11
                7.    The singular form of a word shall be interpreted as plural, and vice versa;
12
       the use of the masculine form of a pronoun also includes within its meaning the
13
       feminine form of the pronoun so used, and vice versa; and the use of any tense of any
14
       verb includes also within its meaning all other tenses of the verb so used.
15
                8.    The connectives “and” and “or” shall be construed either disjunctively
16
       or conjunctively so as to acquire the broadest meaning possible, so as to bring within
17
       the scope of the Request all information that might otherwise be construed to be
18
       outside its scope.
19
                9.    The term “all” is to be construed to mean “any” and “each” and vice
20
       versa.
21
                10.   “Including” shall be construed to mean “including, without limitation”
22
       or “including, but not limited to.”
23     II. INSTRUCTIONS
24              The following instructions shall apply to all of the below Requests and should
25     be considered part of each Request.
26              1.    Thomas Lehman shall produce all responsive Documents (including any
27     stored by electronic means). If Mr. Lehman is withholding or intends to withhold any
28                                                  2
        Case No. 2:22-cv-04355-JFW-JEM                                    ATTACHMENT A TO
                                                                        DOCUMENT SUBPOENA
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                                                                                          Pg. 21
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1
       Documents or Things responsive to these requests, Mr. Lehman is requested to state
2
       the basis for withholding the Document in a manner sufficient to enable Mr. Ripps,
3
       Mr. Cahen, and the Court to adjudicate the validity of its withholding. In the case of
4
       any Documents and Things being withheld on the grounds of attorney-client privilege,
5
       work-product doctrine, or other privilege doctrine or immunity, please also provide a
6
       privilege log identifying the following information for each Document or Thing:
7
                   a.    the request to which the Document is responsive;
8
                   b.    the title of the Document;
9
                   c.    the date appearing on the Document, and if no date appears thereon,
10
                         so state and give the date, or approximate date, on which the
11
                         Document was prepared;
12
                   d.    the type or general nature of the Document (i.e., whether it is a
13
                         letter, memorandum, minutes of a meeting, etc.);
14
                   e.    number of pages;
15
                   f.    attachments;
16
                   g.    appendices;
17
                   h.    the name, title, and company affiliation of the Person who prepared
18
                         the Document;
19
                   i.    the name, title, and company affiliation of each Person to whom the
20
                         Document was disclosed, including the Person or Persons to whom
21
                         it was addressed and the Person or Persons who received the
22
                         Document, or copies of the Document, including blind copy
23
                         recipients, and any individual who whom the Document was
24
                         distributed shown or explained;
25
                   j.    the name, title, and company affiliation of the Person or Persons
26
                         who maintain custody of the Document; and
27
28                                               3
        Case No. 2:22-cv-04355-JFW-JEM                                ATTACHMENT A TO
                                                                    DOCUMENT SUBPOENA
                                                                                    Exhibit 2
                                                                                      Pg. 22
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1
                      k.   the general subject matter of the Document and the basis for
2
                           withholding the Document, in a manner sufficient for Mr. Ripps,
3
                           Mr. Cahen, and the Court to determine the validity of Yuga’s
4
                           withholding.
5
             2.       Produce all responsive Documents in Your actual or constructive
6
       possession, custody, or control, or the actual or constructive possession, custody, or
7
       control of Your attorneys, accountants, representatives, consultants, agents,
8
       employees, or anyone else acting on Your behalf. You are to produce entire
9
       Documents, including attachments, enclosures, cover letters, memoranda and
10
       appendices.
11
             3.       Each Document is to be produced along with all nonidentical drafts
12
       thereof in their entirety, without abbreviation or redaction, and as maintained in the
13
       ordinary course of business. In the event that multiple copies of a Document exist,
14
       produce every copy on which appear any notations or markings of any sort not
15
       appearing on any other copy.
16
             4.       If a responsive Document is not in Your possession, custody or control,
17
       identify the names of the Persons who have possession, custody or control of such
18
       Document. If such Document was in Your possession, custody or control in the past
19
       but is no longer in Your possession, custody or control, state what disposition was
20
       made of it, the reasons for such disposition, identify any Persons having any
21
       knowledge of said disposition, and identify the Persons responsible for such
22
       disposition.
23
             5.       If a responsive Document has been destroyed or is alleged to have been
24
       destroyed, state the reasons for its destruction, the names of the Persons having any
25
       knowledge of its destruction and the names of the Persons responsible for its
26
       destruction.
27
28                                                4
        Case No. 2:22-cv-04355-JFW-JEM                                 ATTACHMENT A TO
                                                                     DOCUMENT SUBPOENA
                                                                                     Exhibit 2
                                                                                       Pg. 23
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                                        #:7097



1
             6.     If Thomas Lehman contends that any Request is objectionable in whole
2
       or in part, Mr. Lehman shall state with particularity each objection, the basis for it,
3
       and the categories of information to which the objection applies, and respond to the
4
       Request insofar as it is not deemed objectionable.
5
             7.     If Thomas Lehman finds the meaning of any term in these Requests
6
       unclear or ambiguous, Mr. Lehman shall assume a reasonable meaning, state what the
7
       assumed meaning is, and respond to the Request according to the assumed meaning.
8
             8.     The Documents produced in response to these Requests shall be (a)
9
       organized and designated to correspond to the categories in these Requests or, if not,
10
       (b) produced as they are maintained in the normal course of business, and in either
11
       case: (i) all associated file labels, file headings, and file folders shall be produced
12
       together with the responsive Documents from each file and each file shall be identified
13
       as to its owner or custodian; (ii) all Documents that cannot be legibly copied shall be
14
       produced in their original form; otherwise, You may produce photocopies; (iii) all
15
       photocopies shall be stapled or clipped as the originals; and (iv) each page shall be
16
       given a discrete production number.
17
             9.     None of the Definitions or Requests set forth in this Request for
18
       Production shall be construed as an admission relating to the existence of evidence,
19
       to the relevance or admissibility of any evidence, or to the truth or accuracy of any
20
       statement or characterization in the Definition or Request.
21
             10.    These Requests are continuing in nature and require supplemental or
22
       additional responses in accordance with Rule 26(e) of the Federal Rules of Civil
23
       Procedure.
24     III. DOCUMENT REQUESTS
25     REQUEST NO. 1:
26           All documents constituting, referring to, or evidencing communications with
27     any agent of Yuga Labs, Inc., including but not limited to any attorney at Fenwick &
28                                               5
        Case No. 2:22-cv-04355-JFW-JEM                                 ATTACHMENT A TO
                                                                     DOCUMENT SUBPOENA
                                                                                     Exhibit 2
                                                                                       Pg. 24
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                                        #:7098



1
       West and/or Claire Locke, concerning your declaration of February 3, 2023, in Yuga
2
       Labs v. Ripps, Case No. 2:22-CV-04355-JFW-JEM.
3
       REQUEST NO. 2:
4
             All drafts of your declaration of February 3, 2023, in Yuga Labs v. Ripps, Case
5
       No. 2:22-CV-04355-JFW-JEM
6
       REQUEST NO. 3:
7
             All documents constituting, referring to, or evidencing communications with
8
       any agent of Yuga Labs, Inc., including but not limited to any attorney at Fenwick &
9
       West and/or Claire Locke, concerning Yuga Labs v. Ripps, Case No. 2:22-CV-04355-
10
       JFW-JEM.
11
       REQUEST NO. 4:
12
             All documents constituting, referring to, or evidencing communications with
13
       any agent of Yuga Labs, Inc., including but not limited to any attorney at Fenwick &
14
       West and/or Claire Locke, concerning Yuga Labs v. Hickman, Case No. 1:23-cv-
15
       0085-MAD-TWD.
16
       REQUEST NO. 5:
17
             The settlement agreement in Yuga Labs v. Lehman, 1:23-cv-00085-MAD,
18
       including all prior drafts of the settlement agreement in Yuga Labs v. Lehman, 1:23-
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       cv-00085-MAD-TWD.
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        Case No. 2:22-cv-04355-JFW-JEM                               ATTACHMENT A TO
                                                                   DOCUMENT SUBPOENA
                                                                                   Exhibit 2
                                                                                     Pg. 25
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       Attachment B



                                                                            Exhibit 2
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                                          13
                                          14                                             Attorneys for Defendants
                                                                                         Ryder Ripps and Jeremy Cahen
                                          15
                                          16                             UNITED STATES DISTRICT COURT
                                          17                           CENTRAL DISTRICT OF CALIFORNIA
                                          18                                    WESTERN DIVISION
                                          19
                                          20 Yuga Labs, Inc.,                             Case No.: 2:22-cv-4355-JFW-JEM
                                          21                      Plaintiff,              DISCOVERY MATTER
                                          22           v.                                 STIPULATION AND PROTECTIVE
                                                                                          ORDER
                                          23 Ryder Ripps, Jeremy Cahen, Does 1-10,
                                                                                          District Judge: Honorable John F.
                                          24                      Defendants.                             Walter
                                          25                                             Magistrate Judge: Honorable John E.
                                                                                                           McDermott
                                          26
                                          27
                                          28

                                               STIPULATED PROTECTIVE ORDER                                                   Exhibit
                                                                                                        Case No. 2:22-CV-04355- JFW-JEM 2
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                                           1           Pursuant to Federal Rule of Evidence 26(c) and to facilitate the production
                                           2 and receipt of information in discovery in this action, Plaintiff Yuga Labs, Inc.
                                           3 (“Plaintiff” or “Yuga Labs”) and Defendants Ryder Ripps and Jeremy Cahen
                                           4 (collectively, “Defendants”) have agreed and stipulated, through their respective
                                           5 counsel, to the entry of an order for the protection of trade secret, proprietary, and
                                           6 other confidential research, development, financial, business, or commercial
                                           7 information that may be produced or otherwise disclosed by them during the course
                                           8 of this action.
                                           9           Upon consideration of the record and proceedings herein, the parties hereby
                                          10 stipulate to the following terms:
                                          11 1.        PURPOSES AND LIMITATIONS
                                          12           Discovery in this action is likely to involve production of confidential,
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                                          13 proprietary, or private information for which special protection from public
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                                          14 disclosure and from use for any purpose other than prosecuting this litigation may
                                          15 be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
                                          16 enter the following Stipulated Protective Order. The parties acknowledge that this
                                          17 Stipulated Protective Order does not confer blanket protections on all disclosures or
                                          18 responses to discovery and that the protection it affords from public disclosure and
                                          19 use extends only to the limited information or items that are entitled to confidential
                                          20 treatment under the applicable legal principles. The parties further acknowledge, as
                                          21 set forth in Section 14.3 below, that this Stipulated Protective Order does not entitle
                                          22 them to file confidential information under seal; Local Rule 79-5 and Section 9 of
                                          23 the Court’s Standing Order (Dkt. 14) set forth the procedures that must be followed
                                          24 and the standards that will be applied when a party seeks permission from the Court
                                          25 to file material under seal.
                                          26 ///
                                          27
                                          28 ///

                                               STIPULATED PROTECTIVE ORDER                  2                                       Exhibit
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                                                                                                                                        Pg. 28
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                                           1 2.        GOOD CAUSE STATEMENT
                                           2           Counsel for the Parties to this Action have reviewed Edwards v. County of Los
                                           3 Angeles, 2009 WL 4707996 (C.D. Cal 2009) and have tailored this Stipulated
                                           4 Protective Order to comply with the Court’s guidance in that order. Specifically, the
                                           5 Parties have set forth below good cause for this Stipulated Protective Order, ensured
                                           6 that materials subject to the Stipulated Protective Order are “described in a
                                           7 meaningful fashion” in this section (see also infra Section 6.1), and ensured that the
                                           8 provisions regarding sealing comply with Local Rule 79-5.1 (see infra Section 14.3).
                                           9           This action is likely to involve trade secrets, pricing lists and other valuable
                                          10 research, development, commercial, financial, technical and/or proprietary
                                          11 information; sensitive personal information; and information protected by
                                          12 Nonparties’ right of privacy under California law. Special protection from public
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                                          13 disclosure or disclosure to competitors, and from use for any purpose other than
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                                          14 prosecution of this action, is warranted. Such confidential and proprietary materials
                                          15 and information consist of, among other things, confidential business or financial
                                          16 information, information regarding confidential business practices, or other
                                          17 confidential research, development, or commercial information (including
                                          18 information implicating privacy rights of third parties), information otherwise
                                          19 generally unavailable to the public, or which may be privileged or otherwise
                                          20 protected from disclosure under state or federal statutes, court rules, case decisions,
                                          21 or common law. The parties stipulate that disclosure of this information would cause
                                          22 competitive harm to the parties. For example, the parties believe that competitors
                                          23 will gain an unfair advantage if they learn the parties’ Protected Material, such as
                                          24 financial information, accounting information, customer lists, vendor lists, costs or
                                          25 profits structure, sales information, product lines, business and marketing strategy or
                                          26 information about operations. Accordingly, to expedite the flow of information, to
                                          27 facilitate the prompt resolution of disputes over confidentiality of discovery
                                          28 materials, to adequately protect information the parties are entitled to keep

                                               STIPULATED PROTECTIVE ORDER                   3                                       Exhibit
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                                           1 confidential, to ensure that the parties are permitted reasonable necessary uses of
                                           2 such material in preparation for and in the conduct of trial, to address their handling
                                           3 at the end of the litigation, and to serve the ends of justice, a protective order for
                                           4 such information is justified in this matter. It is the intent of the parties that
                                           5 information will not be designated as confidential for tactical reasons and that
                                           6 nothing be so designated without a good faith belief that it has been maintained in a
                                           7 confidential, non-public manner, and there is good cause why it should not be part of
                                           8 the public record of this case.
                                           9 3.        DEFINITIONS
                                          10           3.1.   Action: This pending federal lawsuit, Yuga Labs, Inc. v. Ryder Ripps
                                          11 et al., Civil Action Case No. 2:22-cv-04355-JFW-JEM.
                                          12           3.2.   Challenging Party: A Party or Nonparty that challenges the
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                                          13 designation of information or items under this Stipulated Protective Order.
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                                          14           3.3.   “CONFIDENTIAL” Information or Items: Information (regardless of
                                          15 how it is generated, stored or maintained) or tangible things that qualify for
                                          16 protection under Federal Rule of Civil Procedure 26(c), and as specified above in
                                          17 the Good Cause Statement.
                                          18           3.4.   Counsel: Outside Counsel and In-House Counsel (as well as their
                                          19 support staff).
                                          20           3.5.   Designating Party: A Party or Nonparty that designates information or
                                          21 items that it produces in disclosures or in responses to discovery as
                                          22 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                          23 ONLY.”
                                          24           3.6.   Disclosure or Discovery Material: All items or information, regardless
                                          25 of the medium or manner in which it is generated, stored, or maintained (including,
                                          26 among other things, testimony, transcripts, and tangible things), that is produced or
                                          27 generated in disclosures or responses to discovery in this matter, including
                                          28 documents, data and information, answers to interrogatories, answers to deposition

                                               STIPULATED PROTECTIVE ORDER                  4                                       Exhibit
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                                           1 questions, responses to requests for admission, affidavits, expert reports, any
                                           2 information copied or extracted or derived therefrom, as well as all copies, excerpts,
                                           3 summaries, or compilations thereof, plus testimony, conversations or presentations
                                           4 by parties or counsel to or in court or in other settings.
                                           5           3.7.   Expert: A person with specialized knowledge or experience in a
                                           6 matter pertinent to the litigation who (1) has been retained by a Party or its counsel
                                           7 to serve as an expert witness or as a consultant in this Action; (2) is not currently
                                           8 employed by or conducting business with a Party; (3) at the time of retention, is not
                                           9 anticipated to become an employee or conducting business with a Party or a Party’s
                                          10 competitor; and (4) who have signed the “Acknowledgment and Agreement to be
                                          11 Bound” (Exhibit A).
                                          12           3.8.   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
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                                          13 Information or Items: Extremely sensitive “Confidential Information or Items,” the
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                                          14 disclosure of which to another Party or Nonparty would create a substantial risk of
                                          15 serious harm that could not be avoided by less restrictive means. It includes,
                                          16 without limitation, (1) highly sensitive settlement and/or licensing agreements
                                          17 (including drafts thereof) that are subject to a third-party confidentiality agreement
                                          18 requiring Highly Confidential – Attorneys’ Eyes Only designation; (2) highly
                                          19 sensitive corporate strategy data; (3) highly sensitive product information
                                          20 containing information not available to competitors or the public concerning
                                          21 present products, anticipated products or products in development; (4) pending but
                                          22 unpublished patent applications; (5) customers’ and agents’ identities and personal
                                          23 information; and (6) other highly confidential technical, research and development,
                                          24 and financial information.
                                          25           3.9.   In-House Counsel: Attorneys who are employees of a party to this
                                          26 Action (as well as their support staff). In-House Counsel does not include Outside
                                          27 Counsel or any other outside counsel.
                                          28

                                               STIPULATED PROTECTIVE ORDER                 5                                      Exhibit
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                                           1           3.10. Nonparty: Any natural person, partnership, corporation, association,
                                           2 or other legal entity not named as a Party to this action.
                                           3           3.11. Outside Counsel: Attorneys and their support staff who are not
                                           4 employees of a party to this Action and who (i) are retained to represent or advise a
                                           5 party to this Action and have appeared in this Action on behalf of such party or (ii)
                                           6 are employed by, or a partner of, a law firm that is retained to represent or advise a
                                           7 party regarding this action and which has appeared on behalf of that party.
                                           8           3.12. Party: Any party to this Action, including all of its officers, directors,
                                           9 employees, consultants, retained experts, In-House Counsel, and Outside Counsel
                                          10 (and their support staffs).
                                          11           3.13. Producing Party: A Party or Nonparty that produces Disclosure or
                                          12 Discovery Material in this Action.
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                                                       3.14. Professional Vendors: Persons or entities that provide litigation
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                                          13
                                          14 support services (e.g., photocopying, videotaping, translating, preparing and
                                          15 reviewing discovery material in the capacity of an “e-discovery” vendor, exhibits or
                                          16 demonstrations, and organizing, storing, or retrieving data in any form or medium)
                                          17 and their employees and subcontractors.
                                          18           3.15. Protected Material: Any Disclosure or Discovery Material that is
                                          19 designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
                                          20 ATTORNEYS’ EYES ONLY.”
                                          21           3.16. Receiving Party: A Party that receives Disclosure or Discovery
                                          22 Material from a Producing Party.
                                          23 4.        SCOPE
                                          24           The protections conferred by this Stipulated Protective Order cover not only
                                          25 Protected Material, but also (1) any information copied or extracted from Protected
                                          26 Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
                                          27 and (3) any testimony, conversations, or presentations by Parties or their Counsel
                                          28 that might reveal Protected Material.

                                               STIPULATED PROTECTIVE ORDER                   6                                      Exhibit
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                                           1           However, the protections conferred by this Stipulated Protective Order do not
                                           2 cover the following information: (a) any information that is in the public domain at
                                           3 the time of disclosure to a Receiving Party or becomes part of the public domain
                                           4 after its disclosure to a Receiving Party as a result of publication not involving a
                                           5 violation of this Order, including information that has become part of the public
                                           6 record through trial or otherwise; and (b) any information known to the Receiving
                                           7 Party prior to the disclosure or obtained by the Receiving Party after the disclosure
                                           8 from a source who obtained the information lawfully and under no obligation of
                                           9 confidentiality to the Designating Party or Producing Party.
                                          10           Any use of Protected Material at trial shall be governed by the orders of the
                                          11 trial judge. This Stipulated Protective Order does not govern the use of Protected
                                          12 Material at trial.
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                                          13 5.        DURATION
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                                          14           Even after final disposition of this litigation, the confidentiality obligations
                                          15 imposed by this Stipulated Protective Order shall remain in effect until a
                                          16 Designating Party agrees otherwise in writing or a court order otherwise directs.
                                          17 Final disposition shall be deemed to be the later of (1) dismissal of all claims and
                                          18 defenses in this Action, with or without prejudice; and (2) final judgment herein
                                          19 after the completion and exhaustion of all appeals, rehearings, remands, trials, or
                                          20 reviews of this Action, including the time limits for filing any motions or
                                          21 applications for extension of time pursuant to applicable law.
                                          22 6.        DESIGNATING PROTECTED MATERIAL
                                          23           6.1.   Exercise of Restraint and Care in Designating Material for Protection.
                                          24           Each Party or Nonparty that designates information or items for protection
                                          25 under this Stipulated Protective Order must take care to limit any such designation
                                          26 to specific material that qualifies under the appropriate standards. The Designating
                                          27 Party must designate for protection only those parts of material, documents, items,
                                          28 or oral or written communications that qualify so that other portions of the material,

                                               STIPULATED PROTECTIVE ORDER                   7                                       Exhibit
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                                           1 documents, items, or communications for which protection is not warranted are not
                                           2 swept unjustifiably within the ambit of this Stipulated Protective Order.
                                           3           Mass, indiscriminate, or routinized designations are prohibited. Designations
                                           4 that are shown to be clearly unjustified or that have been made for an improper
                                           5 purpose (e.g., to unnecessarily encumber the case development process or to
                                           6 impose unnecessary expenses and burdens on other parties) may expose the
                                           7 Designating Party to sanctions.
                                           8           6.2.   Manner and Timing of Designations.
                                           9           Except as otherwise provided in this Stipulated Protective Order (see, e.g.,
                                          10 Sections 6.3(a) and 6.3(b) below), or as otherwise stipulated or ordered, Disclosure
                                          11 or Discovery Material that qualifies for protection under this Stipulated Protective
                                          12 Order must be clearly so designated before the material is disclosed or produced.
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                                                       6.3.   Designation in conformity with this Stipulated Protective Order
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                                          13
                                          14 requires the following:
                                          15                  (a)    For information in documentary form (e.g., paper or electronic
                                          16 documents, but excluding transcripts of depositions or other pretrial or trial
                                          17 proceedings), that the Producing Party affix at a minimum, the legend
                                          18 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                          19 ONLY” to each page that contains protected material. If only a portion or portions
                                          20 of the material on a page qualifies for protection, the Producing Party also must
                                          21 clearly identify the protected portion(s) (e.g., by making appropriate markings in
                                          22 the margins).
                                          23                  A Party or Nonparty that makes original documents available for
                                          24 inspection need not designate them for protection until after the inspecting Party
                                          25 has indicated which documents it would like copied and produced. During the
                                          26 inspection and before the designation, all of the material made available for
                                          27 inspection shall be deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                          28 ONLY.” After the inspecting Party has identified the documents it wants copied

                                               STIPULATED PROTECTIVE ORDER                  8                                      Exhibit
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                                           1 and produced, the Producing Party must determine which documents, or portions
                                           2 thereof, qualify for protection under this Stipulated Protective Order. Then, before
                                           3 producing the specified documents, the Producing Party must affix the appropriate
                                           4 legend (“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
                                           5 EYES ONLY”) to each page that contains Protected Material. If only a portion or
                                           6 portions of the material on a page qualifies for protection, the Producing Party also
                                           7 must clearly identify the protected portion(s) (e.g., by making appropriate markings
                                           8 in the margins).
                                           9                  (b)    For transcripts of depositions or other pretrial or trial
                                          10 proceedings, that the original and all copies of any transcript, in whole or in part, be
                                          11 marked “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
                                          12 EYES ONLY” by the court reporter at the request of any party. This request may be
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                                          13 made orally during the proceeding or in writing within thirty (30) days of receipt of
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                                          14 the transcript of the proceeding. Deposition transcripts shall be treated by default as
                                          15 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” until the expiration
                                          16 of the time to make a confidentiality designation. Any portions so designated shall
                                          17 thereafter be treated in accordance with the terms of this Order.
                                          18                  Transcripts containing Protected Material shall have an obvious legend
                                          19 with the appropriate designation on the title page and every subsequent page that
                                          20 the transcript contains Protected Material. If only portions of a transcript are
                                          21 designated as Protected Material, then the title page shall be followed by a list of all
                                          22 pages (including line numbers as appropriate) that have been designated as
                                          23 Protected Material and the level of protection being asserted by the Designating
                                          24 Party. The Designating Party shall inform the court reporter of these requirements.
                                          25                  (c)    For information produced in an electronic form with a load file,
                                          26 the Designating Party shall note the degree of confidentiality of the Protected
                                          27 Material in the load file.
                                          28

                                               STIPULATED PROTECTIVE ORDER                    9                                       Exhibit
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                                           1                  (d)    For information produced in nondocumentary form, and for any
                                           2 other tangible items, that the Producing Party affix in a prominent place on the
                                           3 exterior of the container or containers in which the information is stored the legend
                                           4 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                           5 ONLY.” If only a portion or portions of the information warrants protection, the
                                           6 Producing Party, to the extent practicable, shall identify the protected portion(s) and
                                           7 specify the level of protection being asserted.
                                           8           6.4.   Inadvertent Failure to Designate.
                                           9           A failure to designate qualified information or items does not, standing alone,
                                          10 waive the Designating Party’s right to secure protection under this Stipulated
                                          11 Protective Order for such material. Upon subsequent correction of a designation,
                                          12 the Receiving Party must make reasonable efforts to assure that the material is
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                                          13 treated in accordance with any revised designations under the provisions of this
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                                          14 Stipulated Protective Order and promptly collect any copies of the material that
                                          15 have been provided to individuals other than those authorized under Paragraph 9 of
                                          16 this Order. The Designating Party may also request the individuals to execute the
                                          17 “Acknowledgment and Agreement to Be Bound” that is attached hereto as
                                          18 Exhibit A.
                                          19 7.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                          20           7.1.   Timing of Challenges. Any Party or Nonparty may challenge a
                                          21 designation of confidentiality at any time that is consistent with the Court’s
                                          22 Scheduling Order.
                                          23           7.2.   Meet and Confer. The Challenging Party shall initiate the dispute
                                          24 resolution process, which shall comply with Local Rule 37.1 et seq.
                                          25           7.3.   Burden of Persuasion. The burden of persuasion in any such challenge
                                          26 proceeding shall be on the Designating Party. Frivolous challenges, and those made
                                          27 for an improper purpose (e.g., to harass or impose unnecessary expenses and
                                          28 burdens on other parties) may expose the Challenging Party to sanctions. Unless the

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                                           1 Designating Party has waived or withdrawn the confidentiality designation, all
                                           2 parties shall continue to afford the material in question the level of protection to
                                           3 which it is entitled under the Producing Party’s designation until the Court rules on
                                           4 the challenge.
                                           5 8.        ACCESS TO AND USE OF PROTECTED MATERIALS
                                           6           8.1.   Basic Principles.
                                           7           Receiving Party may use Protected Material that is disclosed or produced by
                                           8 another Party or by a Nonparty in connection with this Action only for prosecuting,
                                           9 defending, or attempting to settle this Action, namely in court or discovery
                                          10 proceedings in this Action. Protected Material may not be used in connection with
                                          11 any other dispute between the parties. Such Protected Material may be disclosed
                                          12 only to the categories of persons and under the conditions described in this
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                                          13 Stipulated Protective Order. When the Action reaches a final disposition, a
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                                          14 Receiving Party must comply with the provisions of Section 15 below.
                                          15           Protected Material must be stored and maintained by a Receiving Party at a
                                          16 location and in a secure manner that ensures that access is limited to the persons
                                          17 authorized under this Stipulated Protective Order.
                                          18           8.2.   Disclosure of “CONFIDENTIAL” Information or Items.
                                          19           Unless otherwise ordered by the Court or permitted in writing by the
                                          20 Designating Party, a Receiving Party may disclose any information or item
                                          21 designated “CONFIDENTIAL” only to:
                                          22                  (a)    The Receiving Party’s Outside Counsel, as well as employees of
                                          23 said Outside Counsel to whom it is reasonably necessary to disclose the information
                                          24 for this Action;
                                          25                  (b)    The Receiving Party, which, in the case of Plaintiff, includes its
                                          26 officers, directors, and employees (including In-House Counsel) to whom
                                          27 disclosure is reasonably necessary for this Action;
                                          28

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                                           1                  (c)    Experts of the Receiving Party (1) to whom disclosure is
                                           2 reasonably necessary for purposes of this Action, (2) who have signed the
                                           3 “Acknowledgment and Agreement to Be Bound,” Exhibit A, and (3) as to whom
                                           4 the procedures set forth in Section 8.4, below, have been followed;
                                           5                  (d)    The Court and its personnel;
                                           6                  (e)    Court reporters and their staff, including stenographic,
                                           7 videographic, and clerical personnel;
                                           8                  (f)    Professional jury or trial consultants and mock jurors who have
                                           9 signed the “Acknowledgment and Agreement to be Bound” (Exhibit A);
                                          10                  (g)    Professional Vendors to whom disclosure is reasonably
                                          11 necessary for this Action who have signed the “Acknowledgment and Agreement to
                                          12 be Bound” (Exhibit A);
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                                                              (h)    The author or recipient of a document containing the
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                                          13
                                          14 information or a custodian or other person who otherwise possessed or knew the
                                          15 information;
                                          16                  (i)    During their depositions or in court proceedings, witnesses, and
                                          17 attorneys for witnesses, in the Action provided that: (1) such documents or
                                          18 information were authored by, addressed to, or received by such persons or other
                                          19 persons employed by the same entity as such persons, (2) such documents or
                                          20 information were produced by or obtained from such persons or their employee, or
                                          21 (3) to whom disclosure is reasonably necessary and who have signed the
                                          22 “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
                                          23 agreed by the Designating Party or ordered by the Court. Pages of transcribed
                                          24 deposition testimony or exhibits to depositions that reveal Protected Material may
                                          25 be separately bound by the court reporter and may not be disclosed to anyone
                                          26 except as permitted under this Stipulated Protective Order; and
                                          27
                                          28

                                               STIPULATED PROTECTIVE ORDER                  12                                      Exhibit
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                                           1                  (j)    Any mediator or settlement officer, and their supporting
                                           2 personnel, mutually agreed upon by any of the parties engaged in settlement
                                           3 discussions.
                                           4           8.3.   Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                           5 ONLY” Information or Items.
                                           6           Unless otherwise ordered by the Court or permitted in writing by the
                                           7 Designating Party, a Receiving Party may disclose any information or item
                                           8 designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to:
                                           9                  (a)    The Receiving Party’s Outside Counsel, as well as employees of
                                          10 said Outside Counsel to whom it is reasonably necessary to disclose the information
                                          11 for this Action;
                                          12                  (b)    The Receiving Party’s In-House Counsel, to whom disclosure is
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                                          13 reasonably necessary for this Action.
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                                          14                  (c)    Experts of the Receiving Party (1) to whom disclosure is
                                          15 reasonably necessary for purposes of this Action, (2) who have signed the
                                          16 “Acknowledgment and Agreement to Be Bound,” Exhibit A, and (3) as to whom
                                          17 the procedures set forth in Section 8.4, below, have been followed;
                                          18                  (d)    The Court and its personnel;
                                          19                  (e)    Court reporters and their staff, including stenographic,
                                          20 videographic, and clerical personnel;
                                          21                  (f)    Professional jury or trial consultants and mock jurors who have
                                          22 signed the “Acknowledgment and Agreement to be Bound” (Exhibit A);
                                          23                  (g)    Professional Vendors to whom disclosure is reasonably
                                          24 necessary for this Action who have signed the “Acknowledgment and Agreement to
                                          25 be Bound” (Exhibit A);
                                          26                  (h)    The author or recipient of a document containing the
                                          27 information or a custodian or other person who otherwise possessed or knew the
                                          28 information;

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                                           1                  (i)    During their depositions or in court proceedings, witnesses in
                                           2 this action, provided that (1) such documents or information were authored by,
                                           3 addressed to, or received by such persons or other persons employed by the same
                                           4 entity as such persons, (2) such documents or information were produced by or
                                           5 obtained from such persons or their employee, or (3) to whom disclosure is
                                           6 reasonably necessary and who have signed the “Acknowledgment and Agreement
                                           7 to Be Bound” (Exhibit A), unless otherwise agreed by the Designated Party or
                                           8 ordered by the court; and
                                           9                  (j)    Any mediator or settlement officer, and their supporting
                                          10 personnel mutually agreed upon by any of the parties engaged in settlement
                                          11 discussions.
                                          12           8.4    Procedures for Disclosure of Protected Material to Experts.
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                                                       Unless otherwise ordered by the court or agreed to in writing by the
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                                          13
                                          14 Designating Party, a Party that seeks to disclose to an Expert any Protected Material
                                          15 first must make a written disclosure to the Designating Party that (1) sets forth the
                                          16 full name of the Expert and the city and state of his or her primary United States
                                          17 residence, (2) attaches a copy of the Expert’s current resume, (3) identifies the
                                          18 Expert’s current United States employer(s); and (4) attaches the Expert’s signed
                                          19 “Acknowledgment and Agreement to be Bound” (Exhibit A).
                                          20 9.        EXPERT COMMUNICATIONS
                                          21           A Party’s Expert is not required to disclose or produce, and the Parties shall
                                          22 not conduct discovery concerning or seek to introduce evidence of: (1)
                                          23 communications between the Parties’ Counsel and the Expert, or (2) drafts of
                                          24 Expert declarations or reports.
                                          25 10.       PROTECTED MATERIAL SUBPOENAED OR ORDERED
                                          26           PRODUCED IN OTHER LITIGATION
                                          27           If a Party or its Expert is served with a discovery request, subpoena, or a
                                          28 court order from another litigation that compels disclosure of any information or

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                                           1 items designated in this Action as “CONFIDENTIAL” or “HIGHLY
                                           2 CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” that Party or Expert must:
                                           3                  (a)    Promptly notify in writing the Designating Party. Such
                                           4 notification shall include a copy of the subpoena or court order;
                                           5                  (b)    Promptly notify in writing the party who caused the subpoena or
                                           6 order to issue in the other litigation that some or all of the material covered by the
                                           7 subpoena or order is subject to this Stipulated Protective Order. Such notification
                                           8 shall include a copy of this Stipulated Protective Order; and
                                           9                  (c)    Cooperate with respect to all reasonable procedures sought to be
                                          10 pursued by the Designating Party whose Protected Material may be affected.
                                          11           If the Designating Party timely seeks a protective order, the Party or Expert
                                          12 served with the discovery request, subpoena, or court order shall not produce any
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                                          13 information designated in this action as “CONFIDENTIAL” or “HIGHLY
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                                          14 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” before a determination by the
                                          15 Court from which the subpoena or order issued, unless the Party or Expert has
                                          16 obtained the Designating Party’s permission. The Designating Party shall bear the
                                          17 burden and expense of seeking protection in that court of its confidential material
                                          18 and nothing in these provisions should be construed as authorizing or encouraging a
                                          19 Receiving Party in this Action to disobey a lawful directive from another court.
                                          20 11.       A NONPARTY’S PROTECTED MATERIAL SOUGHT TO BE
                                          21           PRODUCED IN THIS LITIGATION
                                          22           11.1. Application.
                                          23                  (a)    The terms of this Stipulated Protective Order are applicable to
                                          24 information produced by a Nonparty in this Action and designated as
                                          25 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                          26 ONLY.” Such information produced by Nonparties in connection with this
                                          27 litigation is protected by the remedies and relief provided by this Stipulated
                                          28

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                                           1 Protective Order. Nothing in these provisions should be construed as prohibiting a
                                           2 Nonparty from seeking additional protections.
                                           3                  (b)    Both Parties shall be treated as a Receiving Party with respect to
                                           4 any information produced by a Nonparty in this action.
                                           5           11.2. Notification.
                                           6           In the event that a Party is required, by a valid discovery request, to produce
                                           7 a Nonparty’s confidential information in its possession, and the Party is subject to
                                           8 an agreement with the Nonparty not to produce the Nonparty’s confidential
                                           9 information, then the Party shall:
                                          10                  (a)    Promptly notify in writing the Requesting Party and the
                                          11 Nonparty that some or all of the information requested is subject to a confidentiality
                                          12 agreement with a Nonparty;
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                                                              (b)    Promptly provide the Nonparty with a copy of the Stipulated
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                                          13
                                          14 Protective Order in this Action, the relevant discovery request(s), and a reasonably
                                          15 specific description of the information requested; and
                                          16                  (c)    Make the information requested available for inspection by the
                                          17 Nonparty, if requested.
                                          18           11.3. Conditions of Production.
                                          19           If the Nonparty fails to seek a protective order from this Court within
                                          20 fourteen (14) days after receiving the notice and accompanying information, the
                                          21 Receiving Party may produce the Nonparty’s confidential information responsive to
                                          22 the discovery request. If the Nonparty timely seeks a protective order, the Receiving
                                          23 Party shall not produce any information in its possession or control that is subject to
                                          24 the confidentiality agreement with the Nonparty before a determination by the
                                          25 Court. Absent a court order to the contrary, the Nonparty shall bear the burden and
                                          26 expense of seeking protection in this Court of its Protected Material.
                                          27
                                          28

                                               STIPULATED PROTECTIVE ORDER                  16                                      Exhibit
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                                           1 12.       UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                                           2           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
                                           3 Protected Material to any person or in any circumstance not authorized under this
                                           4 Stipulated Protective Order, the Receiving Party immediately must (1) notify in
                                           5 writing the Designating Party of the unauthorized disclosures, (2) use its best efforts
                                           6 to retrieve all unauthorized copies of the Protected Material, (3) inform the person
                                           7 or persons to whom unauthorized disclosures were made of all the terms of this
                                           8 Stipulated Protective Order, and (4) request such person or persons to execute the
                                           9 “Acknowledgment and Agreement to be Bound” (Exhibit A).
                                          10 13.       INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                                          11           PROTECTED MATERIAL
                                          12           When a Producing Party gives notice to Receiving Parties that certain
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                                          13 inadvertently produced material is subject to a claim of privilege or other protection,
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                                          14 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
                                          15 Procedure 26(b)(5)(B) and as set forth in this Stipulated Protective Order. This
                                          16 provision is not intended to modify whatever procedure may be established in an e-
                                          17 discovery order that provides for production without prior privilege review. In
                                          18 accordance with Federal Rule of Evidence 502(d), the attorney-client privilege or
                                          19 work-product protection is not waived as a result of the disclosure of information in
                                          20 connection with this litigation through inadvertence or error. Such production of
                                          21 documents or information subject to attorney-client privilege, work-product
                                          22 immunity, or any other applicable privilege shall not constitute a waiver of, nor a
                                          23 prejudice to, any claim that such or related material is Protected Material, privileged
                                          24 or protected by the work-product immunity or any other applicable privilege,
                                          25 provided that the Producing Party notifies the Receiving Party in writing promptly
                                          26 upon discovery of such information. Within five (5) business days of receiving such
                                          27 notice, the Receiving Party shall return such information or documents or confirm in
                                          28 writing that it has taken reasonable steps to permanently delete all electronic copies

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                                           1 of such documents from electronic records and to destroy all paper copies. If the
                                           2 Receiving Party has disclosed the information to others before being notified of the
                                           3 claim of privilege or protection, the Receiving Party must take reasonable steps to
                                           4 retrieve and return or destroy the disclosed information. No use shall be made of
                                           5 such documents or information during deposition or at trial, nor shall such
                                           6 documents or information be shown to anyone after the request that they be returned.
                                           7 The Receiving Party may move the court for an order compelling production of such
                                           8 information (based on information independent of the content of the allegedly
                                           9 privileged materials in question), but the motion shall not assert as a ground for
                                          10 production the fact or circumstances of the inadvertent production. If a claim is
                                          11 disputed, the Receiving Party shall not use or disclose a document or information for
                                          12 which a claim of privilege or immunity is made pursuant to this paragraph for any
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                                          13 purpose until the matter is resolved by agreement of the parties or by a decision of
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                                          14 this Court. If a party becomes aware that it has received documents that are clearly
                                          15 privileged, the party receiving the privileged documents will promptly notify the
                                          16 Producing Party of receipt of the documents and return or destroy all copies of the
                                          17 privileged documents, if the Producing Party so requests within ten (10) business
                                          18 days after being advised of the inadvertent production. If the Producing Party does
                                          19 not request return or destruction of the identified privileged documents within this
                                          20 ten (10) business day time period, the Producing Party will be deemed to have
                                          21 waived the privilege, but only with respect to the specific documents identified.
                                          22 14.       MISCELLANEOUS
                                          23           14.1. Right to Further Relief.
                                          24           Nothing in this Stipulated Protective Order abridges the right of any person
                                          25 to seek its modification by the Court in the future.
                                          26           14.2. Right to Assert Other Objections.
                                          27           By stipulating to the entry of this Stipulated Protective Order, no Party waives
                                          28 any right it otherwise would have to object to disclosing or producing any

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                                           1 information or item on any ground not addressed in this Stipulated Protective Order.
                                           2 Similarly, no Party waives any right to object on any ground to use in evidence of
                                           3 any of the material covered by this Stipulated Protective Order.
                                           4           14.3. Filing Protected Material.
                                           5           A Party that seeks to file any Protected Material must comply with L.R.
                                           6 79-5.2.2(b) (“Documents Designated by Another as Confidential Pursuant to a
                                           7 Protective Order”), A Party that seeks to make any filing under seal must comply
                                           8 with Local Rule 79-5 and Section 9 of the Court’s Standing Order (Dkt. 14).
                                           9 Protected Material may only be filed under seal pursuant to a court order authorizing
                                          10 the sealing of the specific Protected Material at issue. If a Party’s request to file
                                          11 Protected Material under seal is denied by the Court, then the Receiving Party may
                                          12 file the information in the public record unless otherwise instructed by the Court.
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                                                       14.4. Use of a Party’s Own Protected Material.
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                                          13
                                          14           Nothing in this Stipulation and Protective Order restricts in any way a Party’s
                                          15 use or disclosure of its own Protected Material.
                                          16           14.5. No Presumption as to Confidentiality.
                                          17           The fact that information is marked with a confidentiality designation under
                                          18 the Protective Order shall not be deemed to be determinative of what a trier of fact
                                          19 may determine to be confidential, proprietary, or a trade secret. The fact that any
                                          20 information is disclosed used, or produced in this action with a confidentiality
                                          21 designation shall not be offered in any action or proceeding before any court,
                                          22 agency, or tribunal as evidence of or concerning whether or not such information is
                                          23 admissible, confidential, or proprietary.
                                          24           14.6. No Modification of Existing Rights.
                                          25           This Protective Order shall not abrogate or diminish any contractual,
                                          26 statutory, or other legal obligation or right of any Party or person with respect to
                                          27 any Protected Material.
                                          28

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                                           1 15.       FINAL DISPOSITION
                                           2           Within sixty (60) days after the latest of any final disposition, as defined in
                                           3 Section 5, above, of this action, each Receiving Party must return all Protected
                                           4 Material to the Producing Party or destroy such material. As used in this subdivision,
                                           5 “all Protected Material” includes all copies, abstracts, compilations, summaries, and
                                           6 any other format reproducing or capturing any of the Protected Material. Whether
                                           7 the Protected Material is returned or destroyed, the Receiving Party must submit a
                                           8 written certification to the Producing Party (and, if not the same person or entity, to
                                           9 the Designating Party) by the 60-day deadline that (1) identifies all the Protected
                                          10 Material that was returned or destroyed and (2) affirms that the Receiving Party has
                                          11 not retained any copies, abstracts, compilations, summaries or any other format
                                          12 reproducing or capturing any of the Protected Material. To the extent it is not
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                                          13 reasonably possible to destroy or return certain Protected Material in the possession
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                                          14 of a Receiving Party—such as information that may reside on Parties’ and Counsel’s
                                          15 respective firms’ or other electronic disaster recovery systems that are overwritten in
                                          16 the normal course of business, or information that may reside in electronic files
                                          17 which are not reasonably accessible—such Receiving Party agrees to maintain the
                                          18 confidentiality of such Protected Material and shall provide a written certification to
                                          19 that effect.
                                          20           Notwithstanding this provision, Parties and Counsel shall not be required to
                                          21 delete information that may reside on their respective firms’ or other electronic
                                          22 disaster recovery systems that are overwritten in the normal course of business, or
                                          23 information that may reside in electronic files which are not reasonably accessible.
                                          24 Counsel are entitled to retain archival copies of all pleadings; motion papers; trial,
                                          25 deposition, and hearing transcripts; legal memoranda; correspondence; deposition
                                          26 and trial exhibits; expert reports, and associated exhibits, attorney work product,
                                          27 and consultant and expert work product, even if such materials contain Protected
                                          28

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                                                                                                           #:1632
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                                          1 Material. Any such archival copies that contain or constitute Protected Material
                                          2 remain subject to this Stipulated Protective Order as set forth in Section 5, above.
                                          3 16.        VIOLATION
                                          4            Any violation of this Stipulated Order may be punished by any and all
                                          5 measures including, without limitation, contempt proceedings, default judgment,
                                          6 and/or monetary sanctions of at least $10,000 for each violation against both the
                                          7 Parties and Counsel.
                                          8            IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                                          9
                                          10    By: /s/ Eric Ball                              By: /s/ Louis W. Tompros
                                          11    ERIC BALL (CSB No. 241327)                     Louis W. Tompros (pro hac vice)
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                                                KIMBERLY CULP (CSB No. 238839)                 Monica Grewal (pro hac vice)
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                                          23                                                   Fax: (213) 443-5400
                                                Attorneys for Yuga Labs, Inc.
                                          24                                                   Attorneys for Defendants
                                                                                               Ryder Ripps and Jeremy Cahen
                                          25
                                          26
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                                               STIPULATED PROTECTIVE ORDER                21                                     Exhibit
                                                                                                             Case No. 2:22-CV-04355- JFW-JEM2
                                                                                                                                     Pg. 47
                           Case
                            Case2:22-cv-04355-JFW-JEM
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                                          1                     ATTESTATION OF CONCURRENCE IN FILING
                                          2            Pursuant to the United States District Court for the Central District of
                                          3 California’s Civil L.R. 5-4.3.4(a)(2)(i), Eric Ball attests that concurrence in the filing
                                          4 of this document has been obtained from Louis Tompros.
                                          5
                                               Dated: October 7, 2022                            /s/ Eric Ball
                                          6
                                                                                                 Eric Ball
                                          7
                                          8
                                          9 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                                          10
                                          11
                                               Dated: 10/11/22
                                          12                                                Honorable John E. McDermott
F ENWICK & W EST LLP




                                                                                            United States Magistrate Judge
                       ATTORNEYS AT LAW




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                                               STIPULATED PROTECTIVE ORDER                  22                                       Exhibit
                                                                                                                 Case No. 2:22-CV-04355- JFW-JEM2
                                                                                                                                         Pg. 48
                           Case
                            Case2:22-cv-04355-JFW-JEM
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                                           1                                         EXHIBIT A
                                           2           ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                                           3           I, [full name], of [address], declare under penalty of perjury that I have read
                                           4 in its entirety and understand the Stipulated Protective Order that was issued by the
                                           5 United States District Court for the Central District of California on [date] in the
                                           6 case of Yuga Labs, Inc. v. Ryder Ripps et al., Civil Action Case No. 2:22-cv-04355-
                                           7 JFW-JEM. I agree to comply with and to be bound by all the terms of this
                                           8 Stipulated Protective Order, and I understand and acknowledge that failure to so
                                           9 comply could expose me to sanctions and punishment in the nature of contempt. I
                                          10 solemnly promise that I will not disclose in any manner any information or item
                                          11 that is subject to this Stipulated Protective Order to any person or entity except in
                                          12 strict compliance with the provisions of this Stipulated Protective Order.
F ENWICK & W EST LLP




                                                       I further agree to submit to the jurisdiction of the United States District Court
                       ATTORNEYS AT LAW




                                          13
                                          14 for the Central District of California for the purpose of enforcing the terms of this
                                          15 Stipulated Protective Order, even if such enforcement proceedings occur after
                                          16 termination of this action. I hereby appoint [full name] of [address and telephone
                                          17 number] as my California agent for service of process in connection with this action
                                          18 or any proceedings related to enforcement of this Stipulated Protective Order.
                                          19
                                          20 Signature:
                                          21 Printed Name:
                                          22 Date:
                                          23 City and State Where Sworn and Signed:
                                          24
                                          25
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                                               STIPULATED PROTECTIVE ORDER                  23                                      Exhibit
                                                                                                                Case No. 2:22-CV-04355- JFW-JEM2
                                                                                                                                        Pg. 49
Case 2:22-cv-04355-JFW-JEM Document 121-14 Filed 03/06/23 Page 41 of 68 Page ID
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                  Exhibit 2



                                                                            Exhibit 2
                                                                              Pg. 50
      Case 2:22-cv-04355-JFW-JEM Document 121-14 Filed 03/06/23 Page 42 of 68 Page ID
                                         #:7124
AO 88A (Rev.   / ) Subpoena to Testify at a Deposition in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                           for the
                                                   Central DistrictDistrict
                                                    __________      of California
                                                                            of __________

                                                                              )
                             Plaintiff                                        )
                                v.                                            )      Civil Action No.
                                                                              )
                                                                              )
                            Defendant                                         )

                           SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:

                                                     (Name of person to whom this subpoena is directed)




 Place:                                                                               Date and Time:


          The deposition will be recorded by this method:

          Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                CLERK OF COURT
                                                                                        OR

                                         Signature of Clerk or Deputy Clerk                               Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                 Exhibit 2
                                                                                                                                   Pg. 51
     Case 2:22-cv-04355-JFW-JEM Document 121-14 Filed 03/06/23 Page 43 of 68 Page ID
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AO 88A (Rev. 2/ ) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                        .

              I served the subpoena by delivering a copy to the named individual as follows:


                                                                                   on (date)                     ; or

              I returned the subpoena unexecuted because:
                                                                                                                             .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                      .

My fees are $                                    for travel and $                      for services, for a total of $        .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

Additional information regarding attempted service, etc.:




                                                                                                                        Exhibit 2
                                                                                                                          Pg. 52
      Case 2:22-cv-04355-JFW-JEM Document 121-14 Filed 03/06/23 Page 44 of 68 Page ID
                                         #:7126
AO 88A (Rev. 2/ ) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                                           Exhibit 2
                                                                                                                                                             Pg. 53
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      Attachment A



                                                                            Exhibit 2
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                                          13
                                          14                                             Attorneys for Defendants
                                                                                         Ryder Ripps and Jeremy Cahen
                                          15
                                          16                             UNITED STATES DISTRICT COURT
                                          17                           CENTRAL DISTRICT OF CALIFORNIA
                                          18                                    WESTERN DIVISION
                                          19
                                          20 Yuga Labs, Inc.,                             Case No.: 2:22-cv-4355-JFW-JEM
                                          21                      Plaintiff,              DISCOVERY MATTER
                                          22           v.                                 STIPULATION AND PROTECTIVE
                                                                                          ORDER
                                          23 Ryder Ripps, Jeremy Cahen, Does 1-10,
                                                                                          District Judge: Honorable John F.
                                          24                      Defendants.                             Walter
                                          25                                             Magistrate Judge: Honorable John E.
                                                                                                           McDermott
                                          26
                                          27
                                          28

                                               STIPULATED PROTECTIVE ORDER                                                   Exhibit
                                                                                                        Case No. 2:22-CV-04355- JFW-JEM 2
                                                                                                                                 Pg. 55
                                    Case
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                                           1           Pursuant to Federal Rule of Evidence 26(c) and to facilitate the production
                                           2 and receipt of information in discovery in this action, Plaintiff Yuga Labs, Inc.
                                           3 (“Plaintiff” or “Yuga Labs”) and Defendants Ryder Ripps and Jeremy Cahen
                                           4 (collectively, “Defendants”) have agreed and stipulated, through their respective
                                           5 counsel, to the entry of an order for the protection of trade secret, proprietary, and
                                           6 other confidential research, development, financial, business, or commercial
                                           7 information that may be produced or otherwise disclosed by them during the course
                                           8 of this action.
                                           9           Upon consideration of the record and proceedings herein, the parties hereby
                                          10 stipulate to the following terms:
                                          11 1.        PURPOSES AND LIMITATIONS
                                          12           Discovery in this action is likely to involve production of confidential,
F ENWICK & W EST LLP




                                          13 proprietary, or private information for which special protection from public
                       ATTORNEYS AT LAW




                                          14 disclosure and from use for any purpose other than prosecuting this litigation may
                                          15 be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
                                          16 enter the following Stipulated Protective Order. The parties acknowledge that this
                                          17 Stipulated Protective Order does not confer blanket protections on all disclosures or
                                          18 responses to discovery and that the protection it affords from public disclosure and
                                          19 use extends only to the limited information or items that are entitled to confidential
                                          20 treatment under the applicable legal principles. The parties further acknowledge, as
                                          21 set forth in Section 14.3 below, that this Stipulated Protective Order does not entitle
                                          22 them to file confidential information under seal; Local Rule 79-5 and Section 9 of
                                          23 the Court’s Standing Order (Dkt. 14) set forth the procedures that must be followed
                                          24 and the standards that will be applied when a party seeks permission from the Court
                                          25 to file material under seal.
                                          26 ///
                                          27
                                          28 ///

                                               STIPULATED PROTECTIVE ORDER                  2                                       Exhibit
                                                                                                                Case No. 2:22-CV-04355- JFW-JEM2
                                                                                                                                        Pg. 56
                                    Case
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                                           1 2.        GOOD CAUSE STATEMENT
                                           2           Counsel for the Parties to this Action have reviewed Edwards v. County of Los
                                           3 Angeles, 2009 WL 4707996 (C.D. Cal 2009) and have tailored this Stipulated
                                           4 Protective Order to comply with the Court’s guidance in that order. Specifically, the
                                           5 Parties have set forth below good cause for this Stipulated Protective Order, ensured
                                           6 that materials subject to the Stipulated Protective Order are “described in a
                                           7 meaningful fashion” in this section (see also infra Section 6.1), and ensured that the
                                           8 provisions regarding sealing comply with Local Rule 79-5.1 (see infra Section 14.3).
                                           9           This action is likely to involve trade secrets, pricing lists and other valuable
                                          10 research, development, commercial, financial, technical and/or proprietary
                                          11 information; sensitive personal information; and information protected by
                                          12 Nonparties’ right of privacy under California law. Special protection from public
F ENWICK & W EST LLP




                                          13 disclosure or disclosure to competitors, and from use for any purpose other than
                       ATTORNEYS AT LAW




                                          14 prosecution of this action, is warranted. Such confidential and proprietary materials
                                          15 and information consist of, among other things, confidential business or financial
                                          16 information, information regarding confidential business practices, or other
                                          17 confidential research, development, or commercial information (including
                                          18 information implicating privacy rights of third parties), information otherwise
                                          19 generally unavailable to the public, or which may be privileged or otherwise
                                          20 protected from disclosure under state or federal statutes, court rules, case decisions,
                                          21 or common law. The parties stipulate that disclosure of this information would cause
                                          22 competitive harm to the parties. For example, the parties believe that competitors
                                          23 will gain an unfair advantage if they learn the parties’ Protected Material, such as
                                          24 financial information, accounting information, customer lists, vendor lists, costs or
                                          25 profits structure, sales information, product lines, business and marketing strategy or
                                          26 information about operations. Accordingly, to expedite the flow of information, to
                                          27 facilitate the prompt resolution of disputes over confidentiality of discovery
                                          28 materials, to adequately protect information the parties are entitled to keep

                                               STIPULATED PROTECTIVE ORDER                   3                                       Exhibit
                                                                                                                 Case No. 2:22-CV-04355- JFW-JEM2
                                                                                                                                         Pg. 57
                                    Case
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                                           1 confidential, to ensure that the parties are permitted reasonable necessary uses of
                                           2 such material in preparation for and in the conduct of trial, to address their handling
                                           3 at the end of the litigation, and to serve the ends of justice, a protective order for
                                           4 such information is justified in this matter. It is the intent of the parties that
                                           5 information will not be designated as confidential for tactical reasons and that
                                           6 nothing be so designated without a good faith belief that it has been maintained in a
                                           7 confidential, non-public manner, and there is good cause why it should not be part of
                                           8 the public record of this case.
                                           9 3.        DEFINITIONS
                                          10           3.1.   Action: This pending federal lawsuit, Yuga Labs, Inc. v. Ryder Ripps
                                          11 et al., Civil Action Case No. 2:22-cv-04355-JFW-JEM.
                                          12           3.2.   Challenging Party: A Party or Nonparty that challenges the
F ENWICK & W EST LLP




                                          13 designation of information or items under this Stipulated Protective Order.
                       ATTORNEYS AT LAW




                                          14           3.3.   “CONFIDENTIAL” Information or Items: Information (regardless of
                                          15 how it is generated, stored or maintained) or tangible things that qualify for
                                          16 protection under Federal Rule of Civil Procedure 26(c), and as specified above in
                                          17 the Good Cause Statement.
                                          18           3.4.   Counsel: Outside Counsel and In-House Counsel (as well as their
                                          19 support staff).
                                          20           3.5.   Designating Party: A Party or Nonparty that designates information or
                                          21 items that it produces in disclosures or in responses to discovery as
                                          22 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                          23 ONLY.”
                                          24           3.6.   Disclosure or Discovery Material: All items or information, regardless
                                          25 of the medium or manner in which it is generated, stored, or maintained (including,
                                          26 among other things, testimony, transcripts, and tangible things), that is produced or
                                          27 generated in disclosures or responses to discovery in this matter, including
                                          28 documents, data and information, answers to interrogatories, answers to deposition

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                                           1 questions, responses to requests for admission, affidavits, expert reports, any
                                           2 information copied or extracted or derived therefrom, as well as all copies, excerpts,
                                           3 summaries, or compilations thereof, plus testimony, conversations or presentations
                                           4 by parties or counsel to or in court or in other settings.
                                           5           3.7.   Expert: A person with specialized knowledge or experience in a
                                           6 matter pertinent to the litigation who (1) has been retained by a Party or its counsel
                                           7 to serve as an expert witness or as a consultant in this Action; (2) is not currently
                                           8 employed by or conducting business with a Party; (3) at the time of retention, is not
                                           9 anticipated to become an employee or conducting business with a Party or a Party’s
                                          10 competitor; and (4) who have signed the “Acknowledgment and Agreement to be
                                          11 Bound” (Exhibit A).
                                          12           3.8.   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
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                                          13 Information or Items: Extremely sensitive “Confidential Information or Items,” the
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                                          14 disclosure of which to another Party or Nonparty would create a substantial risk of
                                          15 serious harm that could not be avoided by less restrictive means. It includes,
                                          16 without limitation, (1) highly sensitive settlement and/or licensing agreements
                                          17 (including drafts thereof) that are subject to a third-party confidentiality agreement
                                          18 requiring Highly Confidential – Attorneys’ Eyes Only designation; (2) highly
                                          19 sensitive corporate strategy data; (3) highly sensitive product information
                                          20 containing information not available to competitors or the public concerning
                                          21 present products, anticipated products or products in development; (4) pending but
                                          22 unpublished patent applications; (5) customers’ and agents’ identities and personal
                                          23 information; and (6) other highly confidential technical, research and development,
                                          24 and financial information.
                                          25           3.9.   In-House Counsel: Attorneys who are employees of a party to this
                                          26 Action (as well as their support staff). In-House Counsel does not include Outside
                                          27 Counsel or any other outside counsel.
                                          28

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                                           1           3.10. Nonparty: Any natural person, partnership, corporation, association,
                                           2 or other legal entity not named as a Party to this action.
                                           3           3.11. Outside Counsel: Attorneys and their support staff who are not
                                           4 employees of a party to this Action and who (i) are retained to represent or advise a
                                           5 party to this Action and have appeared in this Action on behalf of such party or (ii)
                                           6 are employed by, or a partner of, a law firm that is retained to represent or advise a
                                           7 party regarding this action and which has appeared on behalf of that party.
                                           8           3.12. Party: Any party to this Action, including all of its officers, directors,
                                           9 employees, consultants, retained experts, In-House Counsel, and Outside Counsel
                                          10 (and their support staffs).
                                          11           3.13. Producing Party: A Party or Nonparty that produces Disclosure or
                                          12 Discovery Material in this Action.
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                                                       3.14. Professional Vendors: Persons or entities that provide litigation
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                                          13
                                          14 support services (e.g., photocopying, videotaping, translating, preparing and
                                          15 reviewing discovery material in the capacity of an “e-discovery” vendor, exhibits or
                                          16 demonstrations, and organizing, storing, or retrieving data in any form or medium)
                                          17 and their employees and subcontractors.
                                          18           3.15. Protected Material: Any Disclosure or Discovery Material that is
                                          19 designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
                                          20 ATTORNEYS’ EYES ONLY.”
                                          21           3.16. Receiving Party: A Party that receives Disclosure or Discovery
                                          22 Material from a Producing Party.
                                          23 4.        SCOPE
                                          24           The protections conferred by this Stipulated Protective Order cover not only
                                          25 Protected Material, but also (1) any information copied or extracted from Protected
                                          26 Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
                                          27 and (3) any testimony, conversations, or presentations by Parties or their Counsel
                                          28 that might reveal Protected Material.

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                                           1           However, the protections conferred by this Stipulated Protective Order do not
                                           2 cover the following information: (a) any information that is in the public domain at
                                           3 the time of disclosure to a Receiving Party or becomes part of the public domain
                                           4 after its disclosure to a Receiving Party as a result of publication not involving a
                                           5 violation of this Order, including information that has become part of the public
                                           6 record through trial or otherwise; and (b) any information known to the Receiving
                                           7 Party prior to the disclosure or obtained by the Receiving Party after the disclosure
                                           8 from a source who obtained the information lawfully and under no obligation of
                                           9 confidentiality to the Designating Party or Producing Party.
                                          10           Any use of Protected Material at trial shall be governed by the orders of the
                                          11 trial judge. This Stipulated Protective Order does not govern the use of Protected
                                          12 Material at trial.
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                                          13 5.        DURATION
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                                          14           Even after final disposition of this litigation, the confidentiality obligations
                                          15 imposed by this Stipulated Protective Order shall remain in effect until a
                                          16 Designating Party agrees otherwise in writing or a court order otherwise directs.
                                          17 Final disposition shall be deemed to be the later of (1) dismissal of all claims and
                                          18 defenses in this Action, with or without prejudice; and (2) final judgment herein
                                          19 after the completion and exhaustion of all appeals, rehearings, remands, trials, or
                                          20 reviews of this Action, including the time limits for filing any motions or
                                          21 applications for extension of time pursuant to applicable law.
                                          22 6.        DESIGNATING PROTECTED MATERIAL
                                          23           6.1.   Exercise of Restraint and Care in Designating Material for Protection.
                                          24           Each Party or Nonparty that designates information or items for protection
                                          25 under this Stipulated Protective Order must take care to limit any such designation
                                          26 to specific material that qualifies under the appropriate standards. The Designating
                                          27 Party must designate for protection only those parts of material, documents, items,
                                          28 or oral or written communications that qualify so that other portions of the material,

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                                           1 documents, items, or communications for which protection is not warranted are not
                                           2 swept unjustifiably within the ambit of this Stipulated Protective Order.
                                           3           Mass, indiscriminate, or routinized designations are prohibited. Designations
                                           4 that are shown to be clearly unjustified or that have been made for an improper
                                           5 purpose (e.g., to unnecessarily encumber the case development process or to
                                           6 impose unnecessary expenses and burdens on other parties) may expose the
                                           7 Designating Party to sanctions.
                                           8           6.2.   Manner and Timing of Designations.
                                           9           Except as otherwise provided in this Stipulated Protective Order (see, e.g.,
                                          10 Sections 6.3(a) and 6.3(b) below), or as otherwise stipulated or ordered, Disclosure
                                          11 or Discovery Material that qualifies for protection under this Stipulated Protective
                                          12 Order must be clearly so designated before the material is disclosed or produced.
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                                                       6.3.   Designation in conformity with this Stipulated Protective Order
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                                          13
                                          14 requires the following:
                                          15                  (a)    For information in documentary form (e.g., paper or electronic
                                          16 documents, but excluding transcripts of depositions or other pretrial or trial
                                          17 proceedings), that the Producing Party affix at a minimum, the legend
                                          18 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                          19 ONLY” to each page that contains protected material. If only a portion or portions
                                          20 of the material on a page qualifies for protection, the Producing Party also must
                                          21 clearly identify the protected portion(s) (e.g., by making appropriate markings in
                                          22 the margins).
                                          23                  A Party or Nonparty that makes original documents available for
                                          24 inspection need not designate them for protection until after the inspecting Party
                                          25 has indicated which documents it would like copied and produced. During the
                                          26 inspection and before the designation, all of the material made available for
                                          27 inspection shall be deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                          28 ONLY.” After the inspecting Party has identified the documents it wants copied

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                                           1 and produced, the Producing Party must determine which documents, or portions
                                           2 thereof, qualify for protection under this Stipulated Protective Order. Then, before
                                           3 producing the specified documents, the Producing Party must affix the appropriate
                                           4 legend (“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
                                           5 EYES ONLY”) to each page that contains Protected Material. If only a portion or
                                           6 portions of the material on a page qualifies for protection, the Producing Party also
                                           7 must clearly identify the protected portion(s) (e.g., by making appropriate markings
                                           8 in the margins).
                                           9                  (b)    For transcripts of depositions or other pretrial or trial
                                          10 proceedings, that the original and all copies of any transcript, in whole or in part, be
                                          11 marked “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
                                          12 EYES ONLY” by the court reporter at the request of any party. This request may be
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                                          13 made orally during the proceeding or in writing within thirty (30) days of receipt of
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                                          14 the transcript of the proceeding. Deposition transcripts shall be treated by default as
                                          15 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” until the expiration
                                          16 of the time to make a confidentiality designation. Any portions so designated shall
                                          17 thereafter be treated in accordance with the terms of this Order.
                                          18                  Transcripts containing Protected Material shall have an obvious legend
                                          19 with the appropriate designation on the title page and every subsequent page that
                                          20 the transcript contains Protected Material. If only portions of a transcript are
                                          21 designated as Protected Material, then the title page shall be followed by a list of all
                                          22 pages (including line numbers as appropriate) that have been designated as
                                          23 Protected Material and the level of protection being asserted by the Designating
                                          24 Party. The Designating Party shall inform the court reporter of these requirements.
                                          25                  (c)    For information produced in an electronic form with a load file,
                                          26 the Designating Party shall note the degree of confidentiality of the Protected
                                          27 Material in the load file.
                                          28

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                                           1                  (d)    For information produced in nondocumentary form, and for any
                                           2 other tangible items, that the Producing Party affix in a prominent place on the
                                           3 exterior of the container or containers in which the information is stored the legend
                                           4 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                           5 ONLY.” If only a portion or portions of the information warrants protection, the
                                           6 Producing Party, to the extent practicable, shall identify the protected portion(s) and
                                           7 specify the level of protection being asserted.
                                           8           6.4.   Inadvertent Failure to Designate.
                                           9           A failure to designate qualified information or items does not, standing alone,
                                          10 waive the Designating Party’s right to secure protection under this Stipulated
                                          11 Protective Order for such material. Upon subsequent correction of a designation,
                                          12 the Receiving Party must make reasonable efforts to assure that the material is
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                                          13 treated in accordance with any revised designations under the provisions of this
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                                          14 Stipulated Protective Order and promptly collect any copies of the material that
                                          15 have been provided to individuals other than those authorized under Paragraph 9 of
                                          16 this Order. The Designating Party may also request the individuals to execute the
                                          17 “Acknowledgment and Agreement to Be Bound” that is attached hereto as
                                          18 Exhibit A.
                                          19 7.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                          20           7.1.   Timing of Challenges. Any Party or Nonparty may challenge a
                                          21 designation of confidentiality at any time that is consistent with the Court’s
                                          22 Scheduling Order.
                                          23           7.2.   Meet and Confer. The Challenging Party shall initiate the dispute
                                          24 resolution process, which shall comply with Local Rule 37.1 et seq.
                                          25           7.3.   Burden of Persuasion. The burden of persuasion in any such challenge
                                          26 proceeding shall be on the Designating Party. Frivolous challenges, and those made
                                          27 for an improper purpose (e.g., to harass or impose unnecessary expenses and
                                          28 burdens on other parties) may expose the Challenging Party to sanctions. Unless the

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                                           1 Designating Party has waived or withdrawn the confidentiality designation, all
                                           2 parties shall continue to afford the material in question the level of protection to
                                           3 which it is entitled under the Producing Party’s designation until the Court rules on
                                           4 the challenge.
                                           5 8.        ACCESS TO AND USE OF PROTECTED MATERIALS
                                           6           8.1.   Basic Principles.
                                           7           Receiving Party may use Protected Material that is disclosed or produced by
                                           8 another Party or by a Nonparty in connection with this Action only for prosecuting,
                                           9 defending, or attempting to settle this Action, namely in court or discovery
                                          10 proceedings in this Action. Protected Material may not be used in connection with
                                          11 any other dispute between the parties. Such Protected Material may be disclosed
                                          12 only to the categories of persons and under the conditions described in this
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                                          13 Stipulated Protective Order. When the Action reaches a final disposition, a
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                                          14 Receiving Party must comply with the provisions of Section 15 below.
                                          15           Protected Material must be stored and maintained by a Receiving Party at a
                                          16 location and in a secure manner that ensures that access is limited to the persons
                                          17 authorized under this Stipulated Protective Order.
                                          18           8.2.   Disclosure of “CONFIDENTIAL” Information or Items.
                                          19           Unless otherwise ordered by the Court or permitted in writing by the
                                          20 Designating Party, a Receiving Party may disclose any information or item
                                          21 designated “CONFIDENTIAL” only to:
                                          22                  (a)    The Receiving Party’s Outside Counsel, as well as employees of
                                          23 said Outside Counsel to whom it is reasonably necessary to disclose the information
                                          24 for this Action;
                                          25                  (b)    The Receiving Party, which, in the case of Plaintiff, includes its
                                          26 officers, directors, and employees (including In-House Counsel) to whom
                                          27 disclosure is reasonably necessary for this Action;
                                          28

                                               STIPULATED PROTECTIVE ORDER                  11                                      Exhibit
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                                           1                  (c)    Experts of the Receiving Party (1) to whom disclosure is
                                           2 reasonably necessary for purposes of this Action, (2) who have signed the
                                           3 “Acknowledgment and Agreement to Be Bound,” Exhibit A, and (3) as to whom
                                           4 the procedures set forth in Section 8.4, below, have been followed;
                                           5                  (d)    The Court and its personnel;
                                           6                  (e)    Court reporters and their staff, including stenographic,
                                           7 videographic, and clerical personnel;
                                           8                  (f)    Professional jury or trial consultants and mock jurors who have
                                           9 signed the “Acknowledgment and Agreement to be Bound” (Exhibit A);
                                          10                  (g)    Professional Vendors to whom disclosure is reasonably
                                          11 necessary for this Action who have signed the “Acknowledgment and Agreement to
                                          12 be Bound” (Exhibit A);
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                                                              (h)    The author or recipient of a document containing the
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                                          13
                                          14 information or a custodian or other person who otherwise possessed or knew the
                                          15 information;
                                          16                  (i)    During their depositions or in court proceedings, witnesses, and
                                          17 attorneys for witnesses, in the Action provided that: (1) such documents or
                                          18 information were authored by, addressed to, or received by such persons or other
                                          19 persons employed by the same entity as such persons, (2) such documents or
                                          20 information were produced by or obtained from such persons or their employee, or
                                          21 (3) to whom disclosure is reasonably necessary and who have signed the
                                          22 “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
                                          23 agreed by the Designating Party or ordered by the Court. Pages of transcribed
                                          24 deposition testimony or exhibits to depositions that reveal Protected Material may
                                          25 be separately bound by the court reporter and may not be disclosed to anyone
                                          26 except as permitted under this Stipulated Protective Order; and
                                          27
                                          28

                                               STIPULATED PROTECTIVE ORDER                  12                                      Exhibit
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                                           1                  (j)    Any mediator or settlement officer, and their supporting
                                           2 personnel, mutually agreed upon by any of the parties engaged in settlement
                                           3 discussions.
                                           4           8.3.   Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                           5 ONLY” Information or Items.
                                           6           Unless otherwise ordered by the Court or permitted in writing by the
                                           7 Designating Party, a Receiving Party may disclose any information or item
                                           8 designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to:
                                           9                  (a)    The Receiving Party’s Outside Counsel, as well as employees of
                                          10 said Outside Counsel to whom it is reasonably necessary to disclose the information
                                          11 for this Action;
                                          12                  (b)    The Receiving Party’s In-House Counsel, to whom disclosure is
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                                          13 reasonably necessary for this Action.
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                                          14                  (c)    Experts of the Receiving Party (1) to whom disclosure is
                                          15 reasonably necessary for purposes of this Action, (2) who have signed the
                                          16 “Acknowledgment and Agreement to Be Bound,” Exhibit A, and (3) as to whom
                                          17 the procedures set forth in Section 8.4, below, have been followed;
                                          18                  (d)    The Court and its personnel;
                                          19                  (e)    Court reporters and their staff, including stenographic,
                                          20 videographic, and clerical personnel;
                                          21                  (f)    Professional jury or trial consultants and mock jurors who have
                                          22 signed the “Acknowledgment and Agreement to be Bound” (Exhibit A);
                                          23                  (g)    Professional Vendors to whom disclosure is reasonably
                                          24 necessary for this Action who have signed the “Acknowledgment and Agreement to
                                          25 be Bound” (Exhibit A);
                                          26                  (h)    The author or recipient of a document containing the
                                          27 information or a custodian or other person who otherwise possessed or knew the
                                          28 information;

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                                           1                  (i)    During their depositions or in court proceedings, witnesses in
                                           2 this action, provided that (1) such documents or information were authored by,
                                           3 addressed to, or received by such persons or other persons employed by the same
                                           4 entity as such persons, (2) such documents or information were produced by or
                                           5 obtained from such persons or their employee, or (3) to whom disclosure is
                                           6 reasonably necessary and who have signed the “Acknowledgment and Agreement
                                           7 to Be Bound” (Exhibit A), unless otherwise agreed by the Designated Party or
                                           8 ordered by the court; and
                                           9                  (j)    Any mediator or settlement officer, and their supporting
                                          10 personnel mutually agreed upon by any of the parties engaged in settlement
                                          11 discussions.
                                          12           8.4    Procedures for Disclosure of Protected Material to Experts.
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                                                       Unless otherwise ordered by the court or agreed to in writing by the
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                                          13
                                          14 Designating Party, a Party that seeks to disclose to an Expert any Protected Material
                                          15 first must make a written disclosure to the Designating Party that (1) sets forth the
                                          16 full name of the Expert and the city and state of his or her primary United States
                                          17 residence, (2) attaches a copy of the Expert’s current resume, (3) identifies the
                                          18 Expert’s current United States employer(s); and (4) attaches the Expert’s signed
                                          19 “Acknowledgment and Agreement to be Bound” (Exhibit A).
                                          20 9.        EXPERT COMMUNICATIONS
                                          21           A Party’s Expert is not required to disclose or produce, and the Parties shall
                                          22 not conduct discovery concerning or seek to introduce evidence of: (1)
                                          23 communications between the Parties’ Counsel and the Expert, or (2) drafts of
                                          24 Expert declarations or reports.
                                          25 10.       PROTECTED MATERIAL SUBPOENAED OR ORDERED
                                          26           PRODUCED IN OTHER LITIGATION
                                          27           If a Party or its Expert is served with a discovery request, subpoena, or a
                                          28 court order from another litigation that compels disclosure of any information or

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                                           1 items designated in this Action as “CONFIDENTIAL” or “HIGHLY
                                           2 CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” that Party or Expert must:
                                           3                  (a)    Promptly notify in writing the Designating Party. Such
                                           4 notification shall include a copy of the subpoena or court order;
                                           5                  (b)    Promptly notify in writing the party who caused the subpoena or
                                           6 order to issue in the other litigation that some or all of the material covered by the
                                           7 subpoena or order is subject to this Stipulated Protective Order. Such notification
                                           8 shall include a copy of this Stipulated Protective Order; and
                                           9                  (c)    Cooperate with respect to all reasonable procedures sought to be
                                          10 pursued by the Designating Party whose Protected Material may be affected.
                                          11           If the Designating Party timely seeks a protective order, the Party or Expert
                                          12 served with the discovery request, subpoena, or court order shall not produce any
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                                          13 information designated in this action as “CONFIDENTIAL” or “HIGHLY
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                                          14 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” before a determination by the
                                          15 Court from which the subpoena or order issued, unless the Party or Expert has
                                          16 obtained the Designating Party’s permission. The Designating Party shall bear the
                                          17 burden and expense of seeking protection in that court of its confidential material
                                          18 and nothing in these provisions should be construed as authorizing or encouraging a
                                          19 Receiving Party in this Action to disobey a lawful directive from another court.
                                          20 11.       A NONPARTY’S PROTECTED MATERIAL SOUGHT TO BE
                                          21           PRODUCED IN THIS LITIGATION
                                          22           11.1. Application.
                                          23                  (a)    The terms of this Stipulated Protective Order are applicable to
                                          24 information produced by a Nonparty in this Action and designated as
                                          25 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                          26 ONLY.” Such information produced by Nonparties in connection with this
                                          27 litigation is protected by the remedies and relief provided by this Stipulated
                                          28

                                               STIPULATED PROTECTIVE ORDER                  15                                     Exhibit
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                                           1 Protective Order. Nothing in these provisions should be construed as prohibiting a
                                           2 Nonparty from seeking additional protections.
                                           3                  (b)    Both Parties shall be treated as a Receiving Party with respect to
                                           4 any information produced by a Nonparty in this action.
                                           5           11.2. Notification.
                                           6           In the event that a Party is required, by a valid discovery request, to produce
                                           7 a Nonparty’s confidential information in its possession, and the Party is subject to
                                           8 an agreement with the Nonparty not to produce the Nonparty’s confidential
                                           9 information, then the Party shall:
                                          10                  (a)    Promptly notify in writing the Requesting Party and the
                                          11 Nonparty that some or all of the information requested is subject to a confidentiality
                                          12 agreement with a Nonparty;
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                                                              (b)    Promptly provide the Nonparty with a copy of the Stipulated
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                                          13
                                          14 Protective Order in this Action, the relevant discovery request(s), and a reasonably
                                          15 specific description of the information requested; and
                                          16                  (c)    Make the information requested available for inspection by the
                                          17 Nonparty, if requested.
                                          18           11.3. Conditions of Production.
                                          19           If the Nonparty fails to seek a protective order from this Court within
                                          20 fourteen (14) days after receiving the notice and accompanying information, the
                                          21 Receiving Party may produce the Nonparty’s confidential information responsive to
                                          22 the discovery request. If the Nonparty timely seeks a protective order, the Receiving
                                          23 Party shall not produce any information in its possession or control that is subject to
                                          24 the confidentiality agreement with the Nonparty before a determination by the
                                          25 Court. Absent a court order to the contrary, the Nonparty shall bear the burden and
                                          26 expense of seeking protection in this Court of its Protected Material.
                                          27
                                          28

                                               STIPULATED PROTECTIVE ORDER                  16                                      Exhibit
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                                           1 12.       UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                                           2           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
                                           3 Protected Material to any person or in any circumstance not authorized under this
                                           4 Stipulated Protective Order, the Receiving Party immediately must (1) notify in
                                           5 writing the Designating Party of the unauthorized disclosures, (2) use its best efforts
                                           6 to retrieve all unauthorized copies of the Protected Material, (3) inform the person
                                           7 or persons to whom unauthorized disclosures were made of all the terms of this
                                           8 Stipulated Protective Order, and (4) request such person or persons to execute the
                                           9 “Acknowledgment and Agreement to be Bound” (Exhibit A).
                                          10 13.       INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                                          11           PROTECTED MATERIAL
                                          12           When a Producing Party gives notice to Receiving Parties that certain
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                                          13 inadvertently produced material is subject to a claim of privilege or other protection,
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                                          14 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
                                          15 Procedure 26(b)(5)(B) and as set forth in this Stipulated Protective Order. This
                                          16 provision is not intended to modify whatever procedure may be established in an e-
                                          17 discovery order that provides for production without prior privilege review. In
                                          18 accordance with Federal Rule of Evidence 502(d), the attorney-client privilege or
                                          19 work-product protection is not waived as a result of the disclosure of information in
                                          20 connection with this litigation through inadvertence or error. Such production of
                                          21 documents or information subject to attorney-client privilege, work-product
                                          22 immunity, or any other applicable privilege shall not constitute a waiver of, nor a
                                          23 prejudice to, any claim that such or related material is Protected Material, privileged
                                          24 or protected by the work-product immunity or any other applicable privilege,
                                          25 provided that the Producing Party notifies the Receiving Party in writing promptly
                                          26 upon discovery of such information. Within five (5) business days of receiving such
                                          27 notice, the Receiving Party shall return such information or documents or confirm in
                                          28 writing that it has taken reasonable steps to permanently delete all electronic copies

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                                           1 of such documents from electronic records and to destroy all paper copies. If the
                                           2 Receiving Party has disclosed the information to others before being notified of the
                                           3 claim of privilege or protection, the Receiving Party must take reasonable steps to
                                           4 retrieve and return or destroy the disclosed information. No use shall be made of
                                           5 such documents or information during deposition or at trial, nor shall such
                                           6 documents or information be shown to anyone after the request that they be returned.
                                           7 The Receiving Party may move the court for an order compelling production of such
                                           8 information (based on information independent of the content of the allegedly
                                           9 privileged materials in question), but the motion shall not assert as a ground for
                                          10 production the fact or circumstances of the inadvertent production. If a claim is
                                          11 disputed, the Receiving Party shall not use or disclose a document or information for
                                          12 which a claim of privilege or immunity is made pursuant to this paragraph for any
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                                          13 purpose until the matter is resolved by agreement of the parties or by a decision of
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                                          14 this Court. If a party becomes aware that it has received documents that are clearly
                                          15 privileged, the party receiving the privileged documents will promptly notify the
                                          16 Producing Party of receipt of the documents and return or destroy all copies of the
                                          17 privileged documents, if the Producing Party so requests within ten (10) business
                                          18 days after being advised of the inadvertent production. If the Producing Party does
                                          19 not request return or destruction of the identified privileged documents within this
                                          20 ten (10) business day time period, the Producing Party will be deemed to have
                                          21 waived the privilege, but only with respect to the specific documents identified.
                                          22 14.       MISCELLANEOUS
                                          23           14.1. Right to Further Relief.
                                          24           Nothing in this Stipulated Protective Order abridges the right of any person
                                          25 to seek its modification by the Court in the future.
                                          26           14.2. Right to Assert Other Objections.
                                          27           By stipulating to the entry of this Stipulated Protective Order, no Party waives
                                          28 any right it otherwise would have to object to disclosing or producing any

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                                           1 information or item on any ground not addressed in this Stipulated Protective Order.
                                           2 Similarly, no Party waives any right to object on any ground to use in evidence of
                                           3 any of the material covered by this Stipulated Protective Order.
                                           4           14.3. Filing Protected Material.
                                           5           A Party that seeks to file any Protected Material must comply with L.R.
                                           6 79-5.2.2(b) (“Documents Designated by Another as Confidential Pursuant to a
                                           7 Protective Order”), A Party that seeks to make any filing under seal must comply
                                           8 with Local Rule 79-5 and Section 9 of the Court’s Standing Order (Dkt. 14).
                                           9 Protected Material may only be filed under seal pursuant to a court order authorizing
                                          10 the sealing of the specific Protected Material at issue. If a Party’s request to file
                                          11 Protected Material under seal is denied by the Court, then the Receiving Party may
                                          12 file the information in the public record unless otherwise instructed by the Court.
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                                                       14.4. Use of a Party’s Own Protected Material.
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                                          13
                                          14           Nothing in this Stipulation and Protective Order restricts in any way a Party’s
                                          15 use or disclosure of its own Protected Material.
                                          16           14.5. No Presumption as to Confidentiality.
                                          17           The fact that information is marked with a confidentiality designation under
                                          18 the Protective Order shall not be deemed to be determinative of what a trier of fact
                                          19 may determine to be confidential, proprietary, or a trade secret. The fact that any
                                          20 information is disclosed used, or produced in this action with a confidentiality
                                          21 designation shall not be offered in any action or proceeding before any court,
                                          22 agency, or tribunal as evidence of or concerning whether or not such information is
                                          23 admissible, confidential, or proprietary.
                                          24           14.6. No Modification of Existing Rights.
                                          25           This Protective Order shall not abrogate or diminish any contractual,
                                          26 statutory, or other legal obligation or right of any Party or person with respect to
                                          27 any Protected Material.
                                          28

                                               STIPULATED PROTECTIVE ORDER                 19                                      Exhibit
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                                           1 15.       FINAL DISPOSITION
                                           2           Within sixty (60) days after the latest of any final disposition, as defined in
                                           3 Section 5, above, of this action, each Receiving Party must return all Protected
                                           4 Material to the Producing Party or destroy such material. As used in this subdivision,
                                           5 “all Protected Material” includes all copies, abstracts, compilations, summaries, and
                                           6 any other format reproducing or capturing any of the Protected Material. Whether
                                           7 the Protected Material is returned or destroyed, the Receiving Party must submit a
                                           8 written certification to the Producing Party (and, if not the same person or entity, to
                                           9 the Designating Party) by the 60-day deadline that (1) identifies all the Protected
                                          10 Material that was returned or destroyed and (2) affirms that the Receiving Party has
                                          11 not retained any copies, abstracts, compilations, summaries or any other format
                                          12 reproducing or capturing any of the Protected Material. To the extent it is not
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                                          13 reasonably possible to destroy or return certain Protected Material in the possession
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                                          14 of a Receiving Party—such as information that may reside on Parties’ and Counsel’s
                                          15 respective firms’ or other electronic disaster recovery systems that are overwritten in
                                          16 the normal course of business, or information that may reside in electronic files
                                          17 which are not reasonably accessible—such Receiving Party agrees to maintain the
                                          18 confidentiality of such Protected Material and shall provide a written certification to
                                          19 that effect.
                                          20           Notwithstanding this provision, Parties and Counsel shall not be required to
                                          21 delete information that may reside on their respective firms’ or other electronic
                                          22 disaster recovery systems that are overwritten in the normal course of business, or
                                          23 information that may reside in electronic files which are not reasonably accessible.
                                          24 Counsel are entitled to retain archival copies of all pleadings; motion papers; trial,
                                          25 deposition, and hearing transcripts; legal memoranda; correspondence; deposition
                                          26 and trial exhibits; expert reports, and associated exhibits, attorney work product,
                                          27 and consultant and expert work product, even if such materials contain Protected
                                          28

                                               STIPULATED PROTECTIVE ORDER                  20                                       Exhibit
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                                          1 Material. Any such archival copies that contain or constitute Protected Material
                                          2 remain subject to this Stipulated Protective Order as set forth in Section 5, above.
                                          3 16.        VIOLATION
                                          4            Any violation of this Stipulated Order may be punished by any and all
                                          5 measures including, without limitation, contempt proceedings, default judgment,
                                          6 and/or monetary sanctions of at least $10,000 for each violation against both the
                                          7 Parties and Counsel.
                                          8            IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                                          9
                                          10    By: /s/ Eric Ball                              By: /s/ Louis W. Tompros
                                          11    ERIC BALL (CSB No. 241327)                     Louis W. Tompros (pro hac vice)
                                          12    eball@fenwick.com                              louis.tompros@wilmerhale.com
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                                          18    afares@fenwick.com
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                                          22    Fax: 415.281.1350                              Telephone: (213) 443-5300
                                          23                                                   Fax: (213) 443-5400
                                                Attorneys for Yuga Labs, Inc.
                                          24                                                   Attorneys for Defendants
                                                                                               Ryder Ripps and Jeremy Cahen
                                          25
                                          26
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                                               STIPULATED PROTECTIVE ORDER                21                                     Exhibit
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                                          1                     ATTESTATION OF CONCURRENCE IN FILING
                                          2            Pursuant to the United States District Court for the Central District of
                                          3 California’s Civil L.R. 5-4.3.4(a)(2)(i), Eric Ball attests that concurrence in the filing
                                          4 of this document has been obtained from Louis Tompros.
                                          5
                                               Dated: October 7, 2022                            /s/ Eric Ball
                                          6
                                                                                                 Eric Ball
                                          7
                                          8
                                          9 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                                          10
                                          11
                                               Dated: 10/11/22
                                          12                                                Honorable John E. McDermott
F ENWICK & W EST LLP




                                                                                            United States Magistrate Judge
                       ATTORNEYS AT LAW




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                                           1                                         EXHIBIT A
                                           2           ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                                           3           I, [full name], of [address], declare under penalty of perjury that I have read
                                           4 in its entirety and understand the Stipulated Protective Order that was issued by the
                                           5 United States District Court for the Central District of California on [date] in the
                                           6 case of Yuga Labs, Inc. v. Ryder Ripps et al., Civil Action Case No. 2:22-cv-04355-
                                           7 JFW-JEM. I agree to comply with and to be bound by all the terms of this
                                           8 Stipulated Protective Order, and I understand and acknowledge that failure to so
                                           9 comply could expose me to sanctions and punishment in the nature of contempt. I
                                          10 solemnly promise that I will not disclose in any manner any information or item
                                          11 that is subject to this Stipulated Protective Order to any person or entity except in
                                          12 strict compliance with the provisions of this Stipulated Protective Order.
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                                                       I further agree to submit to the jurisdiction of the United States District Court
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                                          13
                                          14 for the Central District of California for the purpose of enforcing the terms of this
                                          15 Stipulated Protective Order, even if such enforcement proceedings occur after
                                          16 termination of this action. I hereby appoint [full name] of [address and telephone
                                          17 number] as my California agent for service of process in connection with this action
                                          18 or any proceedings related to enforcement of this Stipulated Protective Order.
                                          19
                                          20 Signature:
                                          21 Printed Name:
                                          22 Date:
                                          23 City and State Where Sworn and Signed:
                                          24
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                                               STIPULATED PROTECTIVE ORDER                  23                                      Exhibit
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